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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               AT BECKLEY

LAMONT LAPRADE,

            Movant,

v.                                       CIVIL ACTION NO. 5:05-00068
                                      CRIMINAL ACTION NO. 5:03-00150-01

UNITED STATES OF AMERICA,

            Respondent.


                      MEMORANDUM OPINION AND ORDER

     Pending is the motion of the United States to allow the

movant to reinstate his appeal in Criminal Action Number 5:03-

00150-01.    (Doc. No. 138.)    In support of the motion, counsel for

the government states that the evidence put forth at the

January 3, 2008, hearing before Magistrate Judge R. Clarke

VanDervort persuaded the parties that defendant is entitled to

the remedy discussed in United States v. Peak, 992 F.2d 39 (4th

Cir. 1993).

     In Peak, the Fourth Circuit Court of Appeals held that “a

criminal defense attorney’s failure to file a notice of appeal

when requested by his client deprives the defendant of his Sixth

Amendment right to the assistance of counsel, notwithstanding

that the lost appeal may not have had a reasonable probability of

success.”    Id. at 42.    To remedy the violation, a district court

should vacate the original judgment and enter a new judgment from

which an appeal may be taken.        Id.
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     For the reasons stated in the government’s motion, the

motion is hereby GRANTED.      (Doc. No. 138.)          The court hereby

VACATES movant’s original judgment order.              (Doc. No. 51.)      The

judgment will be re-entered on this date by separate order.                   The

Clerk is DIRECTED to file a Notice of Appeal in movant’s criminal

case on his behalf.      In view of the above ruling, the court finds

movant’s pending Motion Under 28 U.S.C. § 2255 to Vacate, Set

Aside, or Correct Sentence by a Person in Federal Custody (Doc.

No. 74), as well as his motions to amend or supplement the same

(Doc. Nos. 76, 81), to be MOOT.        The Clerk is directed to remove

movant’s § 2255 civil action (5:05-00068) from the court’s active

docket.

     The Clerk is further directed to send copies of this

Memorandum Opinion and Order to counsel of record and to movant.

     It is SO ORDERED this 30th day of January, 2008.

                                           ENTER:


                                           David A. Faber
                                           United States District Judge




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